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AO I99A(Rev.06/19) Order Selling Coitdilioiu ofRclcaw
                                                                                                     filed
                                                                                                     OCT 24 202'!
                                                 UNITED STATES DISTRICT COURT                        ^ g district court
                                                        WESTERN DISTRICT OF TEXA^steW district of texas
                                                          SAN ANTONIO DIVISION                         nfe^UTY clerk
USA                                                                §
                                                                   §
vs.                                                                §       NO: SA:24-CR-00388(3)-OLG
                                                                   §
(3)Leroy Robinson                                                  §


                                              ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection ofa DNA sample if it is authorized by 34 U.S.C.§ 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before
    making any change of residence or telephone number.

(4) The defendant must appear in court as required and,if convicted, must surrender as directed to serve a
       sentence that the court may impose.

        The defendant must appear at: Courtroom A
                                                                                          Place


                on the 2nd Floor ofthe United States Federal Courthouse,262 W.Nueva Street, San Antonio, TX
                                                                   Place


       on                                                         10/24/2024 at 9:00 AM
                                                                    Date and Time


        If blank, defendant will be notified ofnext appearance.

(5) The defendant must sign an Appearance Bond,if ordered.$50,000 Unsecured.
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